      8:01-cr-00147-JFB          Doc # 106             Filed: 08/11/06        Page 1 of 6 - Page ID # 98

                                     UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff
v.                                                              Case Number 8:01CR147-3

ANTWON L. TOWNSELL
                 Defendant
                                                                Karen Shanahan

                                                  Defendant’s Attorney
___________________________________
                           JUDGMENT IN A CRIMINAL CASE
                    (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of the mandatory condition of the term of supervision which
states the defendant shall not commit another federal, state or local crime; of standard conditions 5, 6, and
11; and of the condition that states the defendant shall pay restitution.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                                                Date Violation
     Violation Number                          Nature of Violation                               Concluded


 2                        Driving under suspension                                             March 28, 2006

 3                        Operating a motor vehicle with no valid registration, No             October 31, 2005
                          liability insurance, and Unlawful display of plates

 4                        Failure to maintain employment                                           Ongoing

 5                        Failure to notify probation officer of address change                 April 11, 2006

 6                        Failure to notify probation officer of new arrest                      April 6, 2006

 7                        Failure to pay restitution                                               Ongoing

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Following the imposition of sentence, the Court advised the defendant of his right to appeal pursuant to the
provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal
must be filed with the Clerk of this Court within ten (10) days of this date.

Allegation 1 is withdrawn on motion of the United States.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States attorney of any material change in the defendant’s economic circumstances.

                                                                                     Date of Imposition of Sentence:
                                                                                                     August 4, 2006

                                                                                              s/ Joseph F. Bataillon
                                                                                        United States District Judge

                                                                                               August 11, 2006
     8:01-cr-00147-JFB          Doc # 106     Filed: 08/11/06     Page 2 of 6 - Page ID # 99

Defendant: ANTWON L. TOWNSELL                                                             Page 2 of 6
Case Number: 8:01CR147-3


                                        IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons
to be imprisoned for a total term of twelve (12) months and one (1) day.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant be incarcerated at FPC, Yankton, South Datoka, or in a federal facility
        as close to his family in Omaha, Nebraska as possible.

        (X) The defendant is remanded to the custody of the United States Marshal.


                                ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                                _____________________________
                                                                        Signature of Defendant

                                              RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                       __________________________________
                                                              UNITED STATES WARDEN


                                                    By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                            CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                       __________________________________
                                                              UNITED STATES WARDEN


                                                    By:__________________________________
      8:01-cr-00147-JFB         Doc # 106    Filed: 08/11/06     Page 3 of 6 - Page ID # 100

Defendant: ANTWON L. TOWNSELL                                                                Page 3 of 6
Case Number: 8:01CR147-3


                                     SUPERVISED RELEASE

Following incarceration, the defendant shall continue on the original term of supervised release of
five (5) years with a completion date of April 27, 2008.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two period drug
tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of
supervised release that the defendant pay any such fine or restitution that remains unpaid at the
commencement of the term of supervised release in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.


                        STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       The defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold,
         used, distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall
         not associate with any person convicted of a felony, unless granted permission to do so by
         the probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
      8:01-cr-00147-JFB         Doc # 106        Filed: 08/11/06        Page 4 of 6 - Page ID # 101

Defendant: ANTWON L. TOWNSELL                                                                           Page 4 of 6
Case Number: 8:01CR147-3


11.      The defendant shall notify the probation officer within seventy-two hours of being arrested
         or questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court;
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may
         be occasioned by the defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.

                              SPECIAL CONDITIONS OF SUPERVISION

1.       Defendant shall be subject to the search of the defendant's premises, vehicle or person, day or night,
         with or without a warrant, at the request of the U.S. Probation Officer to determine the presence of
         alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
         be seized by the U.S. Probation Officer. This condition may be invoked with or without the
         cooperation of law enforcement officers.

2.       The defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
         or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
         substance abuse, as directed by the U.S. Probation Officer.

3.       Defendant is prohibited from incurring new credit charges or opening additional lines of credit without
         prior written approval of the U.S. Probation Officer.

4.       Defendant shall provide the U.S. Probation Officer with access to any requested financial information.

5.       Pursuant to 18 U.S.C. § 3583 (d), defendant shall submit to a drug test within fifteen (15) days of
         release on Supervised Release and at least two (2) periodic drug tests thereafter to determine
         whether the defendant is using a controlled substance. Further, defendant shall submit to such
         testing as requested by any U.S. Probation Officer to detect the presence of alcohol or controlled
         substances in the defendant's body fluids and to determine whether the defendant has used any of
         those substances. Defendant shall pay for the collection of urine samples to be tested for the
         presence of alcohol and/or controlled substances.

6.       Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska
         between the hours of 8:00am and 4:30pm, 111 South 18th Plaza, Suite C79, Omaha Nebraska, (402)
         661-7555, within seventy-two (72) hours of release from confinement.
    8:01-cr-00147-JFB           Doc # 106      Filed: 08/11/06      Page 5 of 6 - Page ID # 102

Defendant: ANTWON L. TOWNSELL                                                                     Page 5 of 6
Case Number: 8:01CR147-3


                                CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                        Total Fine                      Total Restitution

              $100.00                                                              $2,619.00

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

          interest requirement is waived.



                                                  FINE

          No fine imposed.

                                            RESTITUTION

        Restitution in the amount of $2,619.00 is hereby ordered, of which a balance of $372.75
as of August 3, 2006, remains due and payable . The defendant shall make restitution to the
following payees in the amounts listed below. This amount due shall be paid jointly and
severally with codefendants Eric Frazier & Wynton A. Smith.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                     Priority Order
                                **Total Amount              Amount of                or Percentage
     Name of Payee                  of Loss             Restitution Ordered           of Payment

 Creighton Federal                 $2,619.00                 $2,619.00                  Priority
 Credit Union                                                                    Order/Percentage

 Totals                            $2,619.00                 $2,619.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
    8:01-cr-00147-JFB           Doc # 106       Filed: 08/11/06   Page 6 of 6 - Page ID # 103

Defendant: ANTWON L. TOWNSELL                                                              Page 6 of 6
Case Number: 8:01CR147-3


                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:

        Special instructions regarding the payment of criminal monetary penalties:

        Defendant shall pay twenty-five percent (25%) of his prison earnings towards his
        outstanding restitution and special assessment.            Following release from
        incarceration, defendant shall make payments to satisfy the special assessment and
        restitution obligations in monthly installments of $100.00 or ten percent (10%) of the
        defendant’s gross income, whichever is greater. The first payment shall commence
        thirty (30) days following the defendant’s discharge from incarceration.



Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

      All financial penalty payments are to be made to the Clerk of Court for the District of
Nebraska, 111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
